                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )      Case No. 1:11-cr-76
v.                                                   )
                                                     )      MATTICE / LEE
BRANDON JERMAINE HUGULEY                             )


                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on May 15, 2012.

At the hearing, defendant moved to withdraw his not guilty plea to Count One of the thirteen-count

indictment and entered a plea of guilty to Count One of the Indictment, in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

One of the thirteen-count Indictment be granted, his plea of guilty to Count One of the Indictment

be accepted, the Court adjudicate defendant guilty of the charges set forth in Count One of the

Indictment, and a decision on whether to accept the plea agreement be deferred until sentencing.

Defendant filed a motion to remain on bond after entry of his plea pending sentencing pursuant to

18 U.S.C. §§ 3143(a) & 3145(c) [Doc. 83]. The Government filed a response opposing Defendant's




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motion to remain on bond stating exceptional reasons do not exist under 18 U.S.C. § 3145(c) [Doc.

84] and a hearing was held on the motion. At the conclusion of the hearing, defendant's motion to

remain on bond is DENIED and defendant’s bond was revoked as he did not show there were

exceptional reasons for release under 18 U.S.C. § 3145(c). Therefore, I further RECOMMEND

that defendant remain in custody until sentencing in this matter.           Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



                                               s/fâátÇ ^A _xx
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
in this matter. See 28 U.S.C. §636(b).




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